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1                                                                                         Franklin D. Burgess
2



3                                     UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
4                                              AT TACOMA
5      UNITED STATES OF AMERICA,                    )
                                                    )       CASE NO. CR06-5528 FDB
6                       Plaintiff,                  )
                                                    )       ORDER ALLOWING WITHDRAWAL
7                v.                                 )       OF ATTORNEY OF RECORD
                                                    )
8      TIGRE ROBERTSON,                             )
                                                    )
9                     Defendant                         )
10
                 THIS MATTER having come before the court upon motion of the defendant, TIGRE
11
       ROBERTSON, by and through his counsel of record, Michael E. Schwartz;
12
                 AND THIS COURT having reviewed the motion of defendant, the declaration of counsel,
13
       the records and files herein, and being otherwise fully apprised of the circumstances does hereby
14
                 ORDER, DECLARE, AND DECREE that Bret Purtzer is allowed to withdraw as attorney
15
       of record for defendant, TIGRE ROBERTSON and Michael Schwartz is allowed to substitute as
16
       attorney of record.
17

                 DATED this 2nd day of October, 2006.
18

                                                               /s/ Franklin D Burgess
19                                                          Honorable Franklin D Burgess
                                                            United States District Court Judge
20



21

       Presented by:
22

       LAW OFFICES OF MICHAEL SCHWARTZ
23



24     By: _________/s/___________________________
         Michael E. Schwartz, WSBA #21824
25       Attorney for Defendant
26



27

28



                                                                              Law Offices of Michael Schwartz
                                                                                    524 Tacoma Avenue South
                                                                                           Tacoma, WA 98402
     ORDER - 1                                                                (253)272-7161 fax (253)272-7178
